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                                        ID #:4116


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 8

 9                        UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
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                                                     Case No.: 2:23-cv-01049-JWH-KES
13   ENTROPIC COMMUNICATIONS, LLC,
                                                     (Lead Case)
14                  Plaintiff,                       Case No.: 2:23-cv-01050-JWH-KES
                                                     (Related Case)
15         v.
16   COX COMMUNICATIONS, INC., et al.,               [Assigned to the Honorable John W.
                                                     Holcomb]
17

18                  Defendants.                      DECLARATION OF CASSIDY
19                                                   YOUNG IN SUPPORT OF
     ENTROPIC COMMUNICATIONS, LLC,                   MOTION FOR LEAVE TO
20                                                   SUPPLEMENT COMPLAINT
                       Plaintiff,
21                                                   Hearing Date: January 5, 2024
           v.                                        Hearing Time: 9:00 a.m.
22                                                   Courtroom:    9D (Santa Ana)
     COMCAST CORPORATION, et al.,
23

24                     Defendants.
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                            DECLARATION OF CASSIDY T. YOUNG
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 1                             DECLARATION OF CASSIDY YOUNG
 2         I, Cassidy T. Young, declare as follows:
 3         1.     I am an attorney duly licensed to practice law in the State of California and
 4   admitted to practice before this Court. I am an associate at the law firm of K&L Gates
 5   LLP (the “Firm” or “K&L Gates”). I am one of the attorneys on the K&L Gates team
 6   representing Plaintiff Entropic Communications, LLC (“Entropic”) in the above-
 7   entitled action. This declaration is based on personal knowledge of the matters set forth
 8   in this declaration and based on documents on file with the Court and maintained in the
 9   ordinary course of business as part of the Firm’s client files in this action. If called upon
10   to testify regarding these matters, I could and would do so competently.
11         2.     Attached hereto as Exhibit A is a true and correct copy of Entropic’s
12   Supplemental Pleading.
13         3.     Attached hereto as Exhibit B is a true and correct copy of relevant portions
14   of the transcript from the August 9, 2023 hearing on Defendant Comcast Corporation’s
15   (“Comcast”) motion to dismiss. I was present at this hearing. I requested this transcript
16   through the Court’s docket (1048 DE 120), and received a copy of the transcript from
17   the court reporter who was present at the hearing.
18         4.     Attached hereto as Exhibit C is a true and correct copy of relevant portions
19   of the transcript from the November 10, 2023 discovery hearing before the Special
20   Master, which I ordered and received from the court reporter who was present at the
21   hearing.
22         5.     Attached hereto as Exhibit D is a true and correct copy of relevant portions
23   of the transcript from the December 1, 2023 discovery hearing before the Special
24   Master, which I ordered and received from the court reporter who was present at the
25   hearing.
26         6.     On November 27, 2023, Entropic notified Comcast of its intent to file the
27   Motion to Supplement. Attached hereto as Exhibit E is a true and correct copy of the
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                              DECLARATION OF CASSIDY T. YOUNG
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                                      ID #:4118


 1   November 27, 2023 email from my colleague, Peter Soskin to Comcast’s counsel, on
 2   which I was copied.
 3         7.     On December 1, 2023, I, along with my colleague, Peter Soskin, met and
 4   conferred with counsel for Comcast regarding the instant motion via video conference.
 5   We thoroughly discussed the substance of this Motion, but we were unable to reach a
 6   resolution of the matters discussed.
 7         I declare under penalty of perjury under the laws of the United States and
 8   California that the foregoing is true and correct.
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10         Executed on December 8, 2023 in Los Angeles, California.
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14                                           Cassidy T. Young
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                              DECLARATION OF CASSIDY T. YOUNG
